
Judge Cabell
delivered the opinion of the Court,
Many objections were made to the Judgment, but it is unnecessary to notice more than one of them.
The Judgment was by default for want of appearance, and consequently the Writ and Bail-Bond are parts of the Record. Shelton v. Pollock &amp; Co. 1 Hen. &amp; Munf. 423; Quarles v. Buford, Munf. 487.
The Writ is in the name of Mary G. Gioallcin, as Plaintiff, and the Bail-Bond states the suit as being in the same name. But, the Declaration and Judgment are in the name of Mary S. Gwatkin. The baptismal name, Mary G., in the Writ and Bail-Bond, is essentially different from the baptismal name, Mary S., -in the Declaration and Judgment. A suit instituted in one name, will not justify a Declaration and Judgment in another. On this ground, without noticing any other, the Court is of opinion to reverse the Judgment, and to ’set aside all the proceedings subsequent to the Writ and Bail-Bond.
